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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


MICHAEL EVERETT HILL,
                                                    No. 17 C 3154
                   Plaintiff,
                                                    Judge Sharon Johnson Coleman
          vs.
                                                    Magistrate Judge Maria Valdez
ENHANCED RECOVERY COMPANY,
LLC d/b/a ENHANCED RESOURCE
CENTERS,

                   Defendant.



                                  Agreed Confidentiality Order

         The parties to this Agreed Confidentiality Order have agreed to the terms of this

Order; accordingly, it is ORDERED:



         1.        Scope. All materials produced or adduced in the course of discovery,

including initial disclosures, responses to discovery requests, deposition testimony and

exhibits, and information derived directly therefrom (hereinafter collectively

“documents”), shall be subject to this Order concerning Confidential Information as

defined below. This Order is subject to the Local Rules of this District and the Federal

Rules of Civil Procedure on matters of procedure and calculation of time periods.

         2.        Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE

ORDER” by the producing party that falls within one or more of the following categories:

(a) information prohibited from disclosure by statute; (b) information that reveals trade

secrets; (c) research, technical, commercial or financial information that the party has

maintained as confidential, including documents pertaining to Enhanced Recovery

Company, LLC’s internal policies and procedures and documents relating to the


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telecommunications/dialing systems and equipment employed by Enhanced Recovery

Company, LLC to place calls to the telephone number at issue in this action;

(d)documents pertaining to a person who is not a party to the case, but who is/was

associated with the telephone number at issue in this action;; (e) personal identity

information; (f) income tax returns (including attached schedules and forms), W-2 forms

and 1099 forms; or (g) personnel or employment records of a person who is not a party

to the case Information or documents that are available to the public may not be

designated as Confidential Information.

         3.        Designation.

                   a)    A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a manner

that will not interfere with the legibility of the document. As used in this Order, “copies”

includes electronic images, duplicates, extracts, summaries or descriptions that contain

the Confidential Information. The marking “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” shall be applied prior to or at the time of the documents are

produced or disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” to a document does not mean that the document has any

status or protection by statute or otherwise except to the extent and for the purposes of

this Order. Any copies that are made of any documents marked “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices,

electronic databases or lists of documents that do not contain substantial portions or

images of the text of marked documents and do not otherwise disclose the substance of

the Confidential Information are not required to be marked.




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                   b)     The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this order 1.

         4.        Depositions.

         Unless all parties agree on the record at the time the deposition testimony is

taken, all deposition testimony taken in this case shall be treated as Confidential

Information until the expiration of the following: No later than the fourteenth day after the

transcript is delivered to any party or the witness, and in no event later than 60 days

after the testimony was given, Within this time period, a party may serve a Notice of

Designation to all parties of record as to specific portions of the testimony that are

designated Confidential Information, and thereafter only those portions identified in the

Notice of Designation shall be protected by the terms of this Order. The failure to serve

a timely Notice of Designation shall waive any designation of testimony taken in that

deposition as Confidential Information, unless otherwise ordered by the Court.

         5.        Protection of Confidential Material.

                   a)     General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in

subparagraph (b) for any purpose whatsoever other than in this litigation, including any

appeal thereof.

                   b)     Limited Third-Party Disclosures. The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential Information to any

third person or entity except as set forth in subparagraphs (1)-(9). Subject to these


         1
         An attorney who reviews the documents and designates them as
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER must be admitted to the Bar of
at least one state but need not be admitted to practice in the Northern District of Illinois
unless the lawyer is appearing generally in the case on behalf of a party. By designating
documents confidential pursuant to this Order, counsel submits to the jurisdiction and
sanctions of this Court on the subject matter of the designation.



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requirements, the following categories of persons may be allowed to review Confidential

Information:

              1) Counsel. Counsel for the parties and employees of counsel who have

                   responsibility for the action;

              2) Parties. Individual parties and employees of a party but only to the extent

                   counsel determines in good faith that the employee’s assistance is

                   reasonably necessary to the conduct of the litigation in which the

                   information is disclosed;

              3) The Court and its personnel;

              4) Court Reporters and Recorders. Court reporters and recorders engaged

                   for depositions;

              5) Contractors. Those persons specifically engaged for the limited purpose of

                   making copies of documents or organizing or processing documents,

                   including outside vendors hired to process electronically stored

                   documents;

              6) Consultants and Experts. Consultants, investigators, or experts employed

                   by the parties or counsel for the parties to assist in the preparation and

                   trial of this action but only after such persons have completed the

                   certification contained in Attachment A, Acknowledgment of

                   Understanding and Agreement to Be Bound;

              7) Witnesses at depositions. During their depositions, witnesses in this action

                   to whom disclosure is reasonably necessary. Witnesses shall not retain a

                   copy of documents containing Confidential Information, except witnesses

                   may receive a copy of all exhibits marked at their depositions in

                   connection with review of the transcripts. Pages of transcribed deposition

                   testimony or exhibits to depositions that are designated as Confidential

                   Information pursuant to the process set out in this Order must be


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                   separately bound by the court reporter and may not be disclosed to

                   anyone except as permitted under this Order.

              8) Author or recipient. The author or recipient of the document (not including

                   a person who received the document in the course of litigation); and

              9) Others by Consent. Other persons only by written consent of the

                   producing party or upon order of the Court and on such conditions as may

                   be agreed or ordered.

                   c)     Control of Documents. Counsel for the parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

Information. Counsel shall maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after the

termination of the case.

         6.        Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so

designate the document; provided, however, that a failure to serve a timely Notice of

Designation of deposition testimony as required by this Order, even if inadvertent,

waives any protection for deposition testimony. If a party designates a document as

Confidential Information after it was initially produced, the receiving party, on notification

of the designation, must make a reasonable effort to assure that the document is

treated in accordance with the provisions of this Order. No party shall be found to have

violated this Order for failing to maintain the confidentiality of material during a time

when that material has not been designated Confidential Information, even where the

failure to so designate was inadvertent and where the material is subsequently

designated Confidential Information.

         7.        Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated




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as Confidential Information in connection with a motion, brief or other submission to the

Court must comply with LR 26.2.

         8.        No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the

ground that it requires protection greater than that afforded by this Order unless the

party moves for an order providing such special protection.

         9.        Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to

challenge by any party. The following procedure shall apply to any such challenge.

                   a)     Meet and Confer. A party challenging the designation of

Confidential Information must do so in good faith and must begin the process by

conferring directly with counsel for the designating party. In conferring, the challenging

party must explain the basis for its belief that the confidentiality designation was not

proper and must give the designating party an opportunity to review the designated

material, to reconsider the designation, and, if no change in designation is offered, to

explain the basis for the designation. The designating party must respond to the

challenge within five (5) business days.

                   b)     Judicial Intervention. A party that elects to challenge a

confidentiality designation may file and serve a motion that identifies the challenged

material and sets forth in detail the basis for the challenge. Each such motion must be

accompanied by a competent declaration that affirms that the movant has complied with

the meet and confer requirements of this procedure. The burden of persuasion in any

such challenge proceeding shall be on the designating party. Until the Court rules on

the challenge, all parties shall continue to treat the materials as Confidential Information

under the terms of this Order.

         10.       Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing


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in this Order or any action or agreement of a party under this Order limits the Court’s

power to make orders concerning the disclosure of documents produced in discovery or

at trial.

         11.       Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at

any trial or hearing. A party that intends to present or that anticipates that another party

may present Confidential information at a hearing or trial shall bring that issue to the

Court’s and parties’ attention by motion or in a pretrial memorandum without disclosing

the Confidential Information. The Court may thereafter make such orders as are

necessary to govern the use of such documents or information at trial.

         12.       Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

                   a)    If a receiving party is served with a subpoena or an order issued in

other litigation that would compel disclosure of any material or document designated in

this action as Confidential Information, the receiving party must so notify the designating

party, in writing, immediately and in no event more than three court days after receiving

the subpoena or order. Such notification must include a copy of the subpoena or court

order.

                   b)    The receiving party also must immediately inform in writing the

party who caused the subpoena or order to issue in the other litigation that some or all

of the material covered by the subpoena or order is the subject of this Order. In addition,

the receiving party must deliver a copy of this Order promptly to the party in the other

action that caused the subpoena to issue.

                   c)    The purpose of imposing these duties is to alert the interested

persons to the existence of this Order and to afford the designating party in this case an

opportunity to try to protect its Confidential Information in the court from which the

subpoena or order issued. The designating party shall bear the burden and the expense


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of seeking protection in that court of its Confidential Information, and nothing in these

provisions should be construed as authorizing or encouraging a receiving party in this

action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control

Confidential Information by the other party to this case.

         13.       Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular

documents that have been filed under seal, and the party asserting confidentiality will

have the burden of demonstrating the propriety of filing under seal.

         14.       Obligations on Conclusion of Litigation.

                   a)    Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to

further appeal.

                   b)    Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential

Information and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” under this Order, including copies as defined in ¶ 3(a), shall be returned to the

producing party unless: (1) the document has been offered into evidence or filed without

restriction as to disclosure; (2) the parties agree to destruction to the extent practicable

in lieu of return and certify the fact of destruction, and that the receiving party shall not

be required to locate, isolate and return e-mails (including attachments to e-mails) that

may include Confidential Information, or Confidential Information contained in deposition

transcripts or drafts or final expert reports; or (3) as to documents bearing the notations,

summations, or other mental impressions of the receiving party, that party elects to

destroy the documents and certifies to the producing party that it has done so.

                   c)    Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may


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retain (1) attorney work product, including an index that refers or relates to designated

Confidential Information so long as that work product does not duplicate verbatim

substantial portions of Confidential Information, and (2) one complete set of all

documents filed with the Court including those filed under seal. Any retained

Confidential Information shall continue to be protected under this Order. An attorney

may use his or her work product in subsequent litigation, provided that its use does not

disclose or use Confidential Information.

                   d)    Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order

of the Court.

         15.       Order Subject to Modification. This Order shall be subject to modification

by the Court on its own initiative or on motion of a party or any other person with

standing concerning the subject matter.

         16.       No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating

discovery. Nothing herein shall be construed or presented as a judicial determination

that any document or material designated Confidential Information by counsel or the

parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure

or otherwise until such time as the Court may rule on a specific document or issue.




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         17.       Persons Bound. This Order shall take effect when entered and shall be

binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.



SO ORDERED.                                         ENTERED:




DATE:              December 15, 2017                ___________________________
                                                    HON. MARIA VALDEZ
                                                    United States Magistrate Judge




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                                     ATTACHMENT A


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


MICHAEL EVERETT HILL,
                                                 No. 17 C 3154
                   Plaintiff,
                                                 Judge Sharon Johnson Coleman
          vs.
                                                 Magistrate Judge Maria Valdez
ENHANCED RECOVERY COMPANY,
LLC d/b/a ENHANCED RESOURCE
CENTERS,

                   Defendant.



                                  ACKNOWLEDGMENT
                                        AND
                                AGREEMENT TO BE BOUND


         The undersigned hereby acknowledges that he/she has read the Confidentiality

Order ________________________________ in the above-captioned action and

attached hereto, understands the terms thereof, and agrees to be abound by its terms.

The undersigned submits to the jurisdiction of the United States District Court for the

Northern District of Illinois in matters relating to the Confidentiality Order and

understands that the terms of the Confidentiality Order obligated him/her to use

materials designated as Confidential Information in accordance with the Order solely for

the purposed of the above-captioned action, and not to disclose any such Confidential

Information to any other person, form or concern.




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         The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of Court.



Name:              ________________________________________

Job Title:         ________________________________________

Employer: ________________________________________

Business Address:           _______________________________

                            _______________________________

                            _______________________________




Date: ___________________             _____________________
                                      Signature




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